Case 6:21-cv-00470-JCB-KNM Document 18 Filed 05/06/22 Page 1 of 1 PageID #: 75




                                    No. 6:21-cv-00470

                               Wazlashil Johnson,
                                     Plaintiff,
                                        v.
                Newrez LLC d/b/a Shellpoint Mortgage Servicing LLC,
                                    Defendant.


                               FINAL JUDGMENT

               The court, having rendered its decision by order and opinion,
            hereby enters final judgment. This action is dismissed without prej-
            udice. Any outstanding motions are denied as moot. The clerk of
            court is directed to close the case.
                                          So ordered by the court on May 6, 2022.



                                                J. C AMPBELL B ARKER
                                                United States District Judge
